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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,
                                                   Case No. 18-cv-07462
              Plaintiff,
                                                   Judge Charles P. Kocoras
v.
                                                   Magistrate Judge M. David Weisman
ACGN STATION STORE, et al.,

              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Entertainment

One UK Ltd. (“eOne”) hereby dismisses this action with prejudice against the following

Defendants:

              Defendant Name                                          Line No.
                 dreamy store                                            19
           extraordinary baby store                                      20
                 fortune Store                                           21
                wertqty Store                                            34

Dated this 7th day of February 2019.        Respectfully submitted,


                                            /s/ Justin R. Gaudio_____________
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            Allyson M. Martin
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